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ABEL 17 YEAR SUMMARY _1990 — 2006

Dollars under investment in 1990 $ 13,000
Dollars under investment in 2006 $275,181

Number of contributors in 1990 1
Number of contributors in 2006 over 75

Board of Director members in 1990 30
Board of Director members {n 2006 6

Formal approval from Internal Revenue Service as charitable entity 2-1-94
(All contributions to ABEL are tax deductible.)

16 year average annual investment return - . 9.7%

Donations made to the following charities:

CHARITY CTIO AMOUNT
Food for the Peor Assistance to 20 of the poorer countries § 3,725
St. Vincent’s Academy Education of inner city minorities 18,500
Family Life Center Assistance to inner city families - 9,600
Birth Haven Unwed mother’s education 2,500
Paxton Ministries Assistance to needy families 2,560
Friendly Pregnancy Center Unwed mother’s education 1,500
Beyond the Barrier Promotion of racial harmony 500
Del Val High School Ethics Essay Contest 2,824
Geogian Court Honduras Water Project 2,500

TOTAL DONATIONS GIVEN $43,549

Total annuity interest distributed to annuitants $176,493
